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                    CONCLUSIONS OF LAW




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   September 17, 2019, at 4:00 p.m.



August 19, 2019




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